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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

VIRGINIA L. GIUFFRE,
Plaintiff,
15 Civ. 7433 (LAP)

-against-
ORDER

 

GHISLAINE MAXWELL,

Defendant.

 

 

LORETTA A. PRESKA, Senior United States District Judge:

The hearing regarding the objections to unsealing made by
Non-Party Does 12, 28, 97, 107, 144, 147, 171, and 183,
currently scheduled for Friday November 18, 2022 at 11 a.m., is
adjourned to Friday November 18, 2022 at 12:30 p.m. The parties
to this action and other interested parties are invited to
appear telephonically using the following information: dial in
(877) 402-9753; access code 6545179.

SO ORDERED.
Dated: New York, New York

November 14, 2022 Lototta  Kteahg

LORETTA A. PRESKA
Senior United States District Judge

 

 

 
